                                                  UnUed States Department ()f Agrlculttire
        USDA                                     Animal and Plant Health Inspection $eNice                     4120033100652
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                                                                                                                                 I""Pjd
        iiiii
                                                          Inspection Report
        PAMELA SELLNER
        TOM SELlNER                                                           Customer ID; 5143
                                                                                Ceflificate; 4Z.C.0084
                                                                                       Site; 001
                                                                                       letA & fl'AMI!!J1 SELLNER
        CRICKET HOLLOW ZOO
        1512 210TH STFIEET
                                                                                      Type; ROUTINE INSPECTION
                                                                                      Date: Jan-()3-2012
        MI\NCHESTER, II\ 52051




        No ncn-compllant items iden!llled during this lnspecti{)n.
    (
        This was a forusod lnspecllon for the :':1.1 0 cilall<Jn iden11flmi In the Docembor 06, 2011, ltlspectlon. This
        noncompliant itel!l has been ccrrected.                                                  ·

        This Inspection and cxll r,;;;vlow were conducrod lnlho prlmlOOil ol tho owner loontlfled below and the undersigned
        inspector.

        End of report.

(




    (




                                             CYNTHIA NElS, C.S .
        Prepared By:
                          CYNTHIA M NElS, A C I                 USOA, APHIS, Animal Care                       Date:
            Title:        ANIMA.l CARE INSPECTOFI                Inspector 1041                                J;m-04-2012

{       Rece1ved By:
                                                  (b)(6),(b)(7)(c)                                             Date:
            Title:                                                                                             Jan-04-2012
                                                                 Pa~1c!   1
                    Case 6:14-cv-02034-JSS Document 70-10 Filed 10/16/15 Page 1 of 1
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